      CASE 0:13-cr-00273-SRN-DTS             Doc. 734      Filed 12/21/16      Page 1 of 3




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

United States of America,                                   Criminal No. 13-273 (SRN/FLN)

                      Plaintiff,

               v.                                           AMENDED REPORT AND
                                                            RECOMMENDATION

Lachlan Scott McConnell,

                    Defendant.
         ______________________________________________________________

                Linda Marks, Assistant United States Attorney, for Plaintiff.
           Ryan Pacyga and Marie Pacyga for Defendant Lachlan Scott McConnell.
         ______________________________________________________________

       THIS MATTER came before the undersigned United States Magistrate Judge on December

12, 2016, on Defendant Lachlan Scott McConnell’s motion to dismiss or in the alternative for

severance (ECF No. 673). This matter was referred to the undersigned for Report and

Recommendation pursuant to 28 U.S.C. § 636 and Local Rule 72.1. For the reasons that follow, the

Court recommends that Defendant’s motion be DENIED.

                                   I. FACTUAL BACKGROUND

       On November 13, 2013, a Grand Jury returned an Indictment, charging Defendant Lachlan

Scott McConnell with multiple counts of conspiracy, mail fraud, wire fraud, and unlawful

distribution and dispensing of controlled substances. See Indictment, ECF No. 5. On April 19, 2016,

McConnell was arrested in the Philippines on an outstanding warrant related to the 2013 Indictment.

On June 1, 2016, McConnell was transported from the Philippines to the United States. Testimony

at the November 9, 2016, suppression hearing established that during this time, Government agents

seized multiple computers and external hard drives possessed by McConnell. On November 23,

2016, the Court held that production of this material is governed by Federal Rule of Criminal
      CASE 0:13-cr-00273-SRN-DTS             Doc. 734      Filed 12/21/16      Page 2 of 3




Procedure 16, and set December 6, 2016, as the deadline for the Government to comply with its

discovery obligations. See Order 4, ECF No. 668. At the December 12, 2016, hearing, McConnell

represented that the Government produced the requested Rule 16 discovery between December 2,

2016, and December 8, 2016, with the exception of 213 documents that the Government maintains

are classified. On December 10, 2016, the Government filed a notice of intent to invoke the

Classified Information Procedures Act (“CIPA”). Gov’t Notice, ECF No. 681. McConnell now

moves to dismiss the Indictment or, in the alternative, for severance, for the Government’s failure

to produce discovery under Rule 16. Def.’s Mot. to Dismiss 1–2, ECF No. 673.

                                   II. CONCLUSIONS OF LAW

       Rule 16(d) provides that:

       (2) Failure to Comply. If a party fails to comply with this rule, the court may:
               (A) order that party to permit the discovery or inspection; specify its
               time, place, and manner; and prescribe other just terms and
               conditions;
               (B) grant a continuance;
               (C) prohibit that party from introducing the undisclosed evidence; or
               (D) enter any other order that is just under the circumstance.

Fed. R. Crim. P. 16(d)(2). The Court concludes that the Government has substantially complied with

the November 23, 2016, Order, and its discovery obligations under Rule 16. Although the

Government did not produce the entirety of requested discovery by December 6, 2016, the parties

agree that the remainder of the requested discovery was prodcued by December 8, 2016, except the

213 purportedly classified documents. Under the circumstances, the Court finds that a two-day

discovery delay does not warrant dismissal. See United States v. DeCoteau, 186 F.3d 1008, 1010

(8th Cir. 1999) (holding that a court must impose the least severe sanction upon the government for

failure to comply with a court order). As to the 213 allegedly classified documents, McConnell may


                                                2
       CASE 0:13-cr-00273-SRN-DTS               Doc. 734      Filed 12/21/16       Page 3 of 3




move for the appropriate relief related to those documents under CIPA at a later date before the

presiding judge. See 18 U.S.C. App. III. However, as is stands, the Court cannot find that McConnell

is entitled to the relief sought in the instant motion.1

                                    III. RECOMMENDATION

        Based upon the foregoing, and all of the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED that Defendant Lachlan Scott McConnell’s motion to dismiss or in

the alternative for severance (ECF No. 673) be DENIED.


DATED: December 13, 2016                                               s/Franklin L. Noel
                                                               FRANKLIN L. NOEL
                                                               United States Magistrate Judge
Pursuant to the Local Rules, any party may object to this Report and Recommendation by filing with
the Clerk of Court and serving on all parties, on or before December 27, 2016, written objections
that specifically identify the portions of the proposed findings or recommendations to which
objection is being made, and a brief in support thereof. A party may respond to the objecting party’s
brief within fourteen (14) days after service thereof. All briefs filed under the rules shall be limited
to 3,500 words. A judge shall make a de novo determination of those portions to which objection
is made.
Unless the parties are prepared to stipulate that the District Court is not required by 28 U.S.C. § 636
to review a transcript of the hearing in order to resolve all objections made to this Report and
Recommendation, the party making the objections shall timely order and cause to be filed by
December 7, 2016 a complete transcript of the hearing.




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         By this Report and Recommendation, the court does not intend to express any opinion
on the question of whether any delay occasioned by the proceedings under CIPA might
independently require a severance of Defendant McConnell’s trial of that of his co-defendants.

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